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Individualized Needs Plan - Program Review

(Inmate Copy)

Dept. of Justice / Federal Bureau of Prisons

Plan is for inmate: AMUSO, VITTORIO 38740-079

SEQUENCE: 00304894
Team Date: 03-22-2023

 

 

 

Facility: BTF BUTNER MED II FCI Proj. Rel. Date: UNKNOWN
Name: AMUSO, VITTORIO Proj. Rel. Mthd: LIFE
Register No.. 38740-079 DNA Status: CLP01328 / 04-30-2010
Age: 88

Date of Birth: 11-04-1934
Detainers
[Detaining Agency Remarks
NO DETAINER

Current Work Assignments

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

\Facl Assignment Description Start
BTF A&O COMPL A&O COMPLETE 03-14-2023
Current Education Information
|Facl Assignment Description Start
BTF ESL HAS ENGLISH PROFICIENT 04-28-1993
BTF GED HAS COMPLETED GED OR HS DIPLOMA 04-22-1992
Education Courses
[SubFacl Action Description Start Stop
THA c BEGINNING JOGGING 12-10-1993 01-10-1994
OTVDCU C HOLDOVER ORIENTATION PROGRAM 04-20-1992 04-28-1992
Discipline History (Last 6 months)
[Hearing Date Prohibited Acts
** NO INCIDENT REPORTS FOUND IN LAST 6 MONTHS **
Current Care Assignments
(Assignment Description Start
CARE1-MH CARE1-MENTAL HEALTH 07-28-2010
CARE3 UNSTABLE, COMPLEX CHRONIC CARE 01-31-2023
Current Medical Duty Status Assignments
\Assignment Description Start
C19-RCVRD COVID-19 RECOVERED 02-08-2022
HGT RESTR NO LADDERS/NO UPPER BUNK 03-01-2023
LOWER BUNK LOWER BUNK REQUIRED 11-07-2017
NO PAPER NO PAPER MEDICAL RECORD 03-27-2023
REG DUTY NO MEDICAL RESTR--REGULAR DUTY 06-02-2009
WHEELCHAIR REQUIRES WHEELCHAIR 03-01-2023
YES F/S CLEARED FOR FOOD SERVICE 06-06-2011
Current Drug Assignments
\Assignment Description Start
DRG I NONE NO DRUG INTERVIEW REQUIRED 03-21-1995
ED NONE DRUG EDUCATION NONE 03-07-2023
FRP Payment Plan
|Most Recent Payment Plan
FRP Assignment: NO OBLG' FINANC RESP-NO Start: 03-16-2023
Inmate Decision: AGREED $50.00 Frequency: QUARTERLY
Payments past 6 months: $0.00 Obligation Balance: $0.00
Financial Obligations
|No. Type Amount Balance Payable Status
1 ASSMT $2,700.00 $1,775.00 IMMEDIATE EXPIRED
** NO ADJUSTMENTS MADE IN LAST 6 MONTHS **
2 FINE $250,000.00 $235,448.16 IMMEDIATE EXPIRED
** NO ADJUSTMENTS MADE IN LAST 6 MONTHS **
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(Most Recent Payment Plan

 

FRP Deposits
Trust Fund Deposits - Past 6 months: $4,200.00 Payments commensurate? Y
New Payment Plan: ‘** No data **

Current FSA Assignments

 

 

|Assig nment Description Start

FTC ELIG FTC-ELIGIBLE - REVIEWED 03-16-2023
N-ANGER Y NEED - ANGER/HOSTILITY YES 03-03-2023
N-ANTISO R NEED - ANTISOCIAL PEERS REFUSE 03-03-2023
N-COGNTV R NEED - COGNITIONS REFUSE 03-03-2023
N-DYSLEX N NEED - DYSLEXIA NO 05-29-2021
N-EDUC N NEED - EDUCATION NO 03-03-2023
N-FIN PV Y NEED - FINANCE/POVERTY YES 03-03-2023
N-FM/PAR N NEED - FAMILY/PARENTING NO 03-03-2023
N-M HLTH N NEED - MENTAL HEALTH NO 03-03-2023
N-MEDICL Y NEED - MEDICAL YES 03-03-2023
N-RLF Y NEED - REC/LEISURE/FITNESS YES 03-03-2023
N-SUB AB N NEED - SUBSTANCE ABUSE NO 03-03-2023
N-TRAUMA Y NEED - TRAUMA YES 03-03-2023
N-WORK N NEED - WORK NO 03-03-2023
R-LW LOW RISK RECIDIVISM LEVEL 03-25-2023

Progress since last review

 

New Arrival to caseload. Inmate is an 88-year-old with a life sentence with no programming record in 20 years.

 

Next Program Review Goals

 

By next team, complete the following program(s): Money Smart, AARP, Brain Health as you Age, Health and Wellness Throughout the Lifespan, Talking
to Your Doctor and Arthritis Foundation Walk with Ease. Save at least 10% of your earnings for release planning. Maintain clear conduct and upon
completion of A&O, secure employment; UNICOR if possible.

 

Long Term Goals

 

No later than 03/2025, complete the following program(s): Anger Management and get with psychology to update FSA refuse status for antisocial and
cognitions.

 

RRC/HC Placement

 

No.

Management decision - Life Sentence. .

Consideration has been given for Five Factor Review (Second Chance Act):

- Facility Resources : RRC available in release area.

- Offense : No extenuating circumstances preclude placement.

- Prisoner : No statement regarding RRC placement on Judgment.

- Court Statement : The sentencing court did not make any statements regarding RRC placement on the Judgment and Commitment Order.
- Sentencing Commission : Life Sentence.

 

Comments

 

*Update your FSA NEEDs assessment; you should not have a REFUSE status*

Inmate was reviewed under the 5 factors review and found ineligible due to Life Sentence.
Recommend obtaining original copies of SS card and birth certificate for identification.
Inmate is Eligible(HI) for the FTC of the FSA.

FRP: No Obligation.

 

 

 

 

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Name: AMUSO, VITTORIO DNA Status:
Register No.: 38740-079
Age: 88
Date of Birth: 11-04-1934

CLP01328 / 04-30-2010

 

Inmate (AMUSO, VITTORIO. Register No.: 38740-079)

 

Date

 

Unit Manager / Chairperson Case Manager

Date Date

 

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